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                   Exhibit
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Uploader Name                       Youtube Channel Name                          Channel URL                        Nation of Residence
Yusipa Pailatussolihah                    About Nature               https://www.youtube.com/@aboutnature87                Indonesia
Rodolfo Jr Acuin                   AfterMath ‐ Disaster Videos                youtube.com/@aftermath22                    Philippines
Nguyen Viet Tien                         Angry Nature                https://www.youtube.com/@AngryNaturee                  Vietnam
Melda Sari                                 Disasters79                 https://www.youtube.com/@disasters79                Indonesia
Muhammad Hani Eabd Kahil                   Earth News               https://www.youtube.com/@earthnews7563                Philippines
Dridi Ramzi                                  EVENT                 https://www.youtube.com/@EVENT.Disasters                  France
Yusipa Pailatussolihah                   Facts In Nature              https://www.youtube.com/@factsinnature               Indonesia
Rizky Fadilah                              God l WTF                     https://www.youtube.com/@godwtf                     Russia
Muhammad Irfan                         IDH Weather News          https://www.youtube.com/@WeatherNewsUpdate               Unknown
Prokopenko Yurii                         Latest Weather            https://www.youtube.com/@LatestWeatherUS                 Ukraine
Unknown                                   Nature Judge                https://www.youtube.com/@naturejudge                 Indonesia
Yusni Dio Pradana                           Nature7                      https://www.youtube.com/@af76917                  Indonesia
Ярослав Лепетюк
                                       OpeN YouR EyeS              https://www.youtube.com/@OpeN‐YouR‐EyeS                   Russia
(Yaroslav Lepetyuk)
Rahmad                                Spotlight on Disaster        https://www.youtube.com/@spotlightondisaster             Unknown
Shadi A. N. Dhdooh                       Storm Center                 https://www.youtube.com/@Storm_Center       Palestinian National Authority
Prokopenko Yurii                       Tough Weather US           https://www.youtube.com/@toughweatherus8524                 Ukraine
Unknown                                 Weather Damage              https://www.youtube.com/@WeatherDamage                   Indonesia
Mohamed Ahmed Ibrahim Abdel Aal          weather now               https://www.youtube.com/@weathertoday7372                Unknown
Шубсторська Маргарита
                                      When God is Angry            https://www.youtube.com/@whengodisangry                   Ukraine
(Shubstor margarita)
Andrey Chundakov                    When The Earth Is Angry      https://www.youtube.com/@WhenTheEarthIsAngry               Thailand




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      Contact Name                 Page Name                         Link to Infringement/Page            Counternotice                            Video Infringed                                    Registration Status            Videographer

  Yusipa Pailatussolihah         About Nature               https://www.youtube.com/watch?v=QqgclYJl3io       NO                  https://www.youtube.com/watch?v=ygGLqD4a0jM                           Not Registered               Reed Timmer

  Yusipa Pailatussolihah         About Nature               https://www.youtube.com/watch?v=JE‐pgsH0I5E       NO                   https://www.youtube.com/watch?v=sVYmlElUkV8                          Not Registered               Aaron Rigsby

  Yusipa Pailatussolihah         About Nature              https://www.youtube.com/watch?v=E1UiTsgJhrU        NO                   https://www.youtube.com/watch?v=Qi1jdvtQP4c                          Not Registered               Aaron Rigsby

  Yusipa Pailatussolihah         About Nature              https://www.youtube.com/watch?v=s6ugKZS1zHo        NO                            https://fb.watch/m0iDNpOCTi/                        Registered Awaiting Certificate      Aaron Jayjack

  Yusipa Pailatussolihah         About Nature              https://www.youtube.com/watch?v=7tNiewXqnyw        NO                             https://fb.watch/fZ_GsBA23y/                               Not Registered               Aaron Rigsby

  Yusipa Pailatussolihah         About Nature             https://www.youtube.com/watch?v=gWxXQAsEduU         NO                   https://www.youtube.com/watch?v=Sv56dEx5ktk                         To Be Registered            Brandon Clement

     Rodolfo Jr Acuin      AfterMath ‐ Disaster Videos     https://www.youtube.com/watch?v=LXWhfBCIDxk        NO                  https://www.youtube.com/watch?v=qEqMZn5gAQA                      Registered: PA‐2‐414‐783        Brandon Clement

     Rodolfo Jr Acuin      AfterMath ‐ Disaster Videos      https://www.youtube.com/watch?v=T_IuNDtlrzo       NO                   https://www.youtube.com/watch?v=Es5mZfeiA4Q                     Registered: PA 2‐397‐898        Brandon Clement

     Rodolfo Jr Acuin      AfterMath ‐ Disaster Videos     https://www.youtube.com/watch?v=LXWhfBCIDxk        NO                   https://www.youtube.com/watch?v=YfWDjIfcV20                     Registered: PA‐2‐414‐783        Brandon Clement

     Rodolfo Jr Acuin      AfterMath ‐ Disaster Videos    https://www.youtube.com/watch?v=lC8X8QK8dwU         NO                   https://www.youtube.com/watch?v=Es5mZfeiA4Q                     Registered: PA 2‐397‐898        Brandon Clement

    Nguyen Viet Tien             Angry Nature              https://www.youtube.com/watch?v=E32QV6cYBCA        NO                  https://www.youtube.com/watch?v=lxdFh8nYMgM                      Registered: PA 2‐388‐966          Reed Timmer

    Nguyen Viet Tien             Angry Nature              https://www.youtube.com/watch?v=E32QV6cYBCA        NO                 https://www.youtube.com/watch?v=M0pYWXq7dqw                            Not Registered                Pecos Hank

    Nguyen Viet Tien             Angry Nature              https://www.youtube.com/watch?v=G9cFiX04E‐Y        NO                  https://www.youtube.com/watch?v=lxdFh8nYMgM                      Registered: PA 2‐388‐966          Reed Timmer

    Nguyen Viet Tien             Angry Nature              https://www.youtube.com/watch?v=wye5_Y_m1gE        NO                  https://www.youtube.com/watch?v=lxdFh8nYMgM                      Registered: PA 2‐388‐966          Reed Timmer

    Nguyen Viet Tien             Angry Nature              https://www.youtube.com/watch?v=GsHC5xBS0Yg        NO                   https://www.youtube.com/watch?v=ic7P9fz3yYQ                          Not Registered               Reed Timmer

    Nguyen Viet Tien             Angry Nature              https://www.youtube.com/watch?v=E32QV6cYBCA        NO                   https://www.youtube.com/watch?v=y73ZVT56Sz4                          Not Registered                Pecos Hank

    Nguyen Viet Tien             Angry Nature              https://www.youtube.com/watch?v=cIvDxEXE34o        NO                  https://www.youtube.com/watch?v=HHK0UO4zAy0                           Not Registered                Max Olson

    Nguyen Viet Tien             Angry Nature              https://www.youtube.com/watch?v=Yhj0sQ‐GhTc        NO                    https://www.youtube.com/watch?v=al8yTiCVfro                    Registered: PA 2‐381‐497           Max Olson

       Melda Sari                  Disasters79             https://www.youtube.com/watch?v=urrweXt3Nz4        NO                https://www.facebook.com/watch/?v=1129501934467512                 Registered: PA 2‐349‐490       News Media Network

       Melda Sari                  Disasters79             https://www.youtube.com/watch?v=o89zs4WqiXI        NO                   https://www.youtube.com/watch?v=Gfr8MExtDYI                          Not Registered                Pecos Hank

       Melda Sari                  Disasters79             https://www.youtube.com/watch?v=4KaGV1_uowY        NO                   https://www.youtube.com/watch?v=FjA9IgdbGT0                          Not Registered              Brian Emfinger

       Melda Sari                  Disasters79             https://www.youtube.com/watch?v=oDEG4P0Tik8        NO                   https://www.youtube.com/watch?v=Qi1jdvtQP4c                          Not Registered               Aaron Rigsby

       Melda Sari                  Disasters79             https://www.youtube.com/watch?v=7mgwixBwgI0        NO                   https://www.youtube.com/watch?v=Sv56dEx5ktk                  Registered Awaiting Certificate    Brandon Clement

       Melda Sari                  Disasters79             https://www.youtube.com/watch?v=pbMOnP4jT4E        NO                   https://www.youtube.com/watch?v=ii46SWfIrZA                          Not Registered               Aaron Jayjack

       Melda Sari                  Disasters79             https://www.youtube.com/watch?v=o89zs4WqiXI        NO                  https://www.youtube.com/watch?v=znheYs5noWU                           Not Registered               Alec Scholten

Muhammad Hani Eabd Kahil          Earth News              https://www.youtube.com/watch?v=Z5WNZzaDWFM         NO                  https://www.youtube.com/watch?v=bdpa0y2hHXU                      Registered: PA 2‐388‐966          Reed Timmer

Muhammad Hani Eabd Kahil          Earth News               https://www.youtube.com/watch?v=bgKNNS3GTyI        NO          https://twitter.com/weather_buffalo/status/1637460059729821698?s=20           Not Registered              Richard Hulburd

       Dridi Ramzi                   EVENT                 https://www.youtube.com/watch?v=SK4C0pyeBOQ        NO                   https://www.youtube.com/watch?v=Q7X3fyId2U0                          Not Registered                Pecos Hank

       Dridi Ramzi                   EVENT                 https://www.youtube.com/watch?v=8sV1KC36ZEs        NO                   https://www.youtube.com/watch?v=Qi1jdvtQP4c                          Not Registered               Aaron Rigsby




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    Contact Name            Page Name                  Link to Infringement/Page            Counternotice                          Video Infringed                           Registration Status          Videographer

     Dridi Ramzi             EVENT           https://www.youtube.com/watch?v=CD5ecMapGnU        NO                  https://www.youtube.com/watch?v=eBjqMwaInkw                Not Registered             Aaron Rigsby

     Dridi Ramzi             EVENT            https://www.youtube.com/watch?v=gSkPaP6IO‐M       NO                   https://www.youtube.com/watch?v=al8yTiCVfro               Not Registered              Max Olson

Yusipa Pailatussolihah    Facts In Nature     https://www.youtube.com/watch?v=F4eEC_l7AkU       NO                  https://www.youtube.com/watch?v=5RfuGEjrHbE                Not Registered            Brandon Clement

Yusipa Pailatussolihah    Facts In Nature     https://www.youtube.com/watch?v=YrP7di7T7Uk       NO                  https://www.youtube.com/watch?v=FjA9IgdbGT0                Not Registered              Brett Adair

Yusipa Pailatussolihah    Facts In Nature    https://www.youtube.com/watch?v=ag3994mNLOM        NO                  https://www.youtube.com/watch?v=Sv56dEx5ktk                Not Registered            Brandon Clement

    Rizky Fadilah           God l WTF        https://www.youtube.com/watch?v=W3y3aH2hr_E        YES                  https://www.instagram.com/p/CwkgqKyyHKu/                 To Be Registered           Brandon Clement

    Rizky Fadilah           God l WTF         https://www.youtube.com/watch?v=hIUXW9Xrbj4       YES                 https://www.youtube.com/watch?v=6w6RsKK0n_Y                Not Registered            Noah Tomkinson

    Rizky Fadilah           God | WTF         https://www.youtube.com/watch?v=qHgcyDJfaA8       YES                 https://www.youtube.com/watch?v=FiaHnYrbJrk           Registered: PA 2‐339‐957       Brandon Clement

    Rizky Fadilah           God | WTF         https://www.youtube.com/watch?v=cEPz3ZFNIrI       YES                 https://www.youtube.com/watch?v=OtyszpKVyuw                Not Registered            Brandon Clement

    Rizky Fadilah           God | WTF        https://www.youtube.com/watch?v=hO3vlwmxlNE        YES                 https://www.youtube.com/watch?v=FiaHnYrbJrka          Registered: PA 2‐339‐957       Brandon Clement

  Muhammad Irfan         IDH Weather News     https://www.youtube.com/watch?v=8JPxNjl3yKE       NO                   https://www.youtube.com/watch?v=al8yTiCVfro                 Registered                Max Olson

  Muhammad Irfan         IDH Weather News    https://www.youtube.com/watch?v=9b‐NZ2O‐B_w        NO                  https://www.youtube.com/watch?v=j00eaG0CHNE                Not Registered            Brandon Clement

  Muhammad Irfan         IDH Weather News    https://www.youtube.com/watch?v=ORcRiT5zyZo        NO                  https://www.youtube.com/watch?v=j00eaG0CHNE                Not Registered            Brandon Clement

  Muhammad Irfan         IDH Weather News     https://www.youtube.com/watch?v=voirRrwPq18       NO                   https://www.youtube.com/watch?v=al8yTiCVfro          Registered: PA 2‐381‐497         Max Olson

  Muhammad Irfan         IDH Weather News     https://www.youtube.com/watch?v=y_XHzjKS4qE       NO                  https://www.youtube.com/watch?v=cGGNSkyjfS0                Not Registered              Brett Adair
                                                                                                                          https://www.instagram.com/reel/Cv0e‐
  Prokopenko Yurii        Latest Weather     https://www.youtube.com/watch?v=LHI_2HTXL5Y        YES         6nLrkW/?igshid=MzRlODBiNWFlZA%3D%3D&fbclid=IwAR1Lrl5SePY          To Be Registered           Noah Tomkinson
                                                                                                                Rt hxYv8B9PAtkQMTmBEqvcPtr RL28CRp 7m9DbM5bP2P34
  Prokopenko Yurii        Latest Weather     https://www.youtube.com/watch?v=TQHZt_m7qM0        NO                  https://www.youtube.com/watch?v=cKI7btWBte8                Not Registered             Brian Emfinger

  Prokopenko Yurii        Latest Weather     https://www.youtube.com/watch?v=FR‐_cCM5LRI        YES                https://www.youtube.com/watch?v=GI6_R2bWzW8                 Not Registered             Reed Timmer

  Prokopenko Yurii        Latest Weather      https://www.youtube.com/watch?v=Kxj11L5Yl4w       YES                  https://www.youtube.com/watch?v=al8yTiCVfro          Registered: PA 2‐381‐497         Max Olson

      Unknown              Nature Judge      https://www.youtube.com/watch?v=gjKs9SlAmMY        NO                   https://www.youtube.com/watch?v=al8yTiCVfro       Registered Awaiting Certificate     Max Olson

      Unknown              Nature Judge       https://www.youtube.com/watch?v=IhqqX9NTkTc       NO                   https://www.youtube.com/watch?v=al8yTiCVfro       Registered Awaiting Certificate     Max Olson

      Unknown              Nature Judge      https://www.youtube.com/watch?v=7hGrz4nkMdA        NO                  https://www.youtube.com/watch?v=Qi1jdvtQP4c                Not Registered             Aaron Rigsby

      Unknown              Nature Judge      https://www.youtube.com/watch?v=7hGrz4nkMdA        NO                   https://www.youtube.com/watch?v=al8yTiCVfro               Not Registered              Max Olson

      Unknown              Nature Judge      https://www.youtube.com/watch?v=SD4L‐76LA5A        NO                 https://www.youtube.com/watch?v=hSdeC6hAIAM                 Not Registered            Brandon Clement

      Unknown              Nature Judge      https://www.youtube.com/watch?v=eKWuLlxOeKI        NO                  https://www.youtube.com/watch?v=YE9nSFjNDiY                Not Registered              Brett Adair

      Unknown              Nature Judge       https://www.youtube.com/watch?v=JCUUJlyEP2s       NO                  https://www.youtube.com/watch?v=Sv56dEx5ktk                Not Registered            Brandon Clement

 Yusni Dio Pradana           Nature7          https://www.youtube.com/watch?v=e3alCz4lkiU       NO                 https://www.youtube.com/watch?v=WYNoBuqTSZE                 Not Registered            Brandon Clement

 Yusni Dio Pradana           Nature7          https://www.youtube.com/watch?v=vb7Z9b0d77I       NO                 https://www.youtube.com/watch?v=GI6_R2bWzW8                 Not Registered             Reed Timmer

 Yusni Dio Pradana           Nature7         https://www.youtube.com/watch?v=MFqWVlMowI8        NO                  https://www.youtube.com/watch?v=U‐qBFdm0B_4                Not Registered             Aaron Rigsby




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      Contact Name              Page Name                       Link to Infringement/Page            Counternotice                             Video Infringed                                 Registration Status          Videographer

    Yusni Dio Pradana             Nature7            https://www.youtube.com/watch?v=MFqWVlMowI8         NO                    https://www.youtube.com/watch?v=lT9dre7u4Ok                       Not Registered             Reed Timmer

    Yusni Dio Pradana             Nature7             https://www.youtube.com/watch?v=v7htqzR‐qCw        NO                    https://www.youtube.com/watch?v=al8yTiCVfro                  Registered: PA 2‐381‐497         Max Olson

     Ярослав Лепетюк
                             OpeN YouR EyeS          https://www.youtube.com/watch?v=FXMwJK6XSto         YES                 https://www.youtube.com/watch?v=xOgSRYpwMqM                    Registered: PA 2‐412‐841      Brandon Clement
    (Yaroslav Lepetyuk)
     Ярослав Лепетюк
                             OpeN YouR EyeS          https://www.youtube.com/watch?v=LjUZD8oB61Q         YES                  https://www.youtube.com/watch?v=2okncHTWpD8                   Registered: PA 2‐364‐276      Jonathan Petramala
    (Yaroslav Lepetyuk)
     Ярослав Лепетюк
                             OpeN YouR EyeS           https://www.youtube.com/watch?v=FUQ6j7K_fB8        YES                  https://www.youtube.com/watch?v=PFSizOheU_k                   Registered: PA 2‐369‐592      Brandon Clement
    (Yaroslav Lepetyuk)

         Rahmad             Spotlight on Disaster    https://www.youtube.com/watch?v=O4pXPMIWp3M         NO                  https://www.youtube.com/watch?v=qW5ON47CLLo                    Registered: PA 2‐388‐958      Brandon Clement

         Rahmad             Spotlight on Disaster     https://www.youtube.com/watch?v=F__ovDf0Wq4        NO                    https://www.youtube.com/watch?v=V30vztsFF8Y                  Registered: PA 2‐388‐966        Reed Timmer

         Rahmad             Spotlight on Disaster     https://www.youtube.com/watch?v=F__ovDf0Wq4        NO                    https://www.youtube.com/watch?v=al8yTiCVfro                  Registered: PA 2‐381‐497         Max Olson

         Rahmad             Spotlight on Disaster    https://www.youtube.com/watch?v=1ZRGmFPpdiY         NO                   https://www.youtube.com/watch?v=gznL1DYG8E8                        Not Registered           Kevin Henderson

         Rahmad             Spotlight on Disaster    https://www.youtube.com/watch?v=1ZRGmFPpdiY         NO                    https://www.youtube.com/watch?v=i1d7j29sgxU                       Not Registered              Brad Arnold

    Shadi A. N. Dhdooh         Storm Center          https://www.youtube.com/watch?v=oGhLDmNFCps         NO                   https://www.youtube.com/watch?v=T3Wi5mzzlqo                        Not Registered           Brandon Clement

    Shadi A. N. Dhdooh         Storm Center           https://www.youtube.com/watch?v=Rqea0VASpe0        NO                             https://fb.watch/fZ_GsBA23y/                             Not Registered             Aaron Rigsby

    Shadi A. N. Dhdooh         Storm Center            https://www.youtube.com/watch?v=eitFtE6P_‐4       NO                             https://fb.watch/fZ_GsBA23y/                             Not Registered             Aaron Rigsby

    Shadi A. N. Dhdooh         Storm Center          https://www.youtube.com/watch?v=NAsNA0RNFEU         NO          https://twitter.com/ReedTimmerAccu/status/1648857989091151875?s=20 Registered Awaiting Certificate     Reed Timmer

    Shadi A. N. Dhdooh         Storm Center           https://www.youtube.com/watch?v=NXv_Ln0T_IA        NO                             https://fb.watch/fZ_GsBA23y/                             Not Registered             Aaron Rigsby

    Shadi A. N. Dhdooh         Storm Center           https://www.youtube.com/watch?v=D7V5vfkko0I        NO                    https://www.youtube.com/watch?v=lZ9hOv_t_Uc                       Not Registered           Brandon Clement

    Shadi A. N. Dhdooh         Storm Center          https://www.youtube.com/watch?v=bWncs50WNu8         NO                             https://fb.watch/fZ_GsBA23y/                             Not Registered             Aaron Rigsby

    Shadi A. N. Dhdooh         Storm Center          https://www.youtube.com/watch?v=dupmNmRGjCU         NO                   https://www.youtube.com/watch?v=CJA9Bu_CSpQ                        Not Registered           Brandon Clement

     Prokopenko Yurii        Tough Weather US        https://www.youtube.com/watch?v=Er92JhMkVVY         NO             https://twitter.com/weather_buffalo/status/1606755893034508290           Not Registered            Richard Hulburd

     Prokopenko Yurii        Tough Weather US        https://www.youtube.com/watch?v=Tm9VMFTWCl8         NO                    https://www.youtube.com/watch?v=al8yTiCVfro                  Registered: PA 2‐381‐497         Max Olson

     Prokopenko Yurii        Tough Weather US        https://www.youtube.com/watch?v=mIvpUnxHSOo         NO                    https://www.youtube.com/watch?v=al8yTiCVfro                  Registered: PA 2‐381‐497         Max Olson

     Prokopenko Yurii        Tough Weather US        https://www.youtube.com/watch?v=RCLrKHK‐9Ng         NO                     https://www.instagram.com/p/CwkgqKyyHKu/                        To Be Registered          Brandon Clement

        Unknown              Weather Damage          https://www.youtube.com/watch?v=LV5KR8tDYvk         NO                     https://www.instagram.com/p/CwkgqKyyHKu/                         Not Registered           Brandon Clement

        Unknown              Weather Damage          https://www.youtube.com/watch?v=K2geZRDuXeA         NO                   https://www.youtube.com/watch?v=P_qG‐dtvKWg                        Not Registered             Reed Timmer

        Unknown              Weather Damage            https://www.youtube.com/watch?v=aBF3jIeZ‐fc       NO                    https://www.youtube.com/watch?v=al8yTiCVfro                  Registered: PA 2‐381‐497         Max Olson

        Unknown              Weather Damage           https://www.youtube.com/watch?v=0DViawyZ3d0        NO                    https://www.youtube.com/watch?v=al8yTiCVfro                  Registered: PA 2‐381‐497         Max Olson

        Unknown              Weather Damage           https://www.youtube.com/watch?v=gbBKyvbQloo        NO                   https://www.youtube.com/watch?v=AM7atQW3lBE                        Not Registered           Brandon Clement

        Unknown              Weather Damage          https://www.youtube.com/watch?v=BxW9NzQxknU         NO                   https://www.youtube.com/watch?v=j00eaG0CHNE                        Not Registered           Brandon Clement

hamed Ahmed Ibrahim Abdel       weather now           https://www.youtube.com/watch?v=lvmhcwIR5qk        NO                   https://www.youtube.com/watch?v=PFSizOheU_k                   Registered: PA 2‐369‐592      Brandon Clement




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      Contact Name                Page Name                      Link to Infringement/Page            Counternotice                     Video Infringed                       Registration Status           Videographer

hamed Ahmed Ibrahim Abdel        weather now            https://www.youtube.com/watch?v=8jTy94p3xpQ       NO                      https://fb.watch/gFpf33cPK1/                  Not Registered              Reed Timmer

hamed Ahmed Ibrahim Abdel        weather now            https://www.youtube.com/watch?v=lvmhcwIR5qk       NO             https://www.youtube.com/watch?v=PFSizOheU_k       Registered: PA 2‐369‐592       Brandon Clement

 Шубсторська Маргарита
                              When God is Angry        https://www.youtube.com/watch?v=4ONFwjzdfhU        YES            https://www.youtube.com/watch?v=53lwzSwydhg            Not Registered              Reed Timmer
  (Shubstor margarita)
 Шубсторська Маргарита
                              When God is Angry         https://www.youtube.com/watch?v=oOyGv‐tJyG4       YES                    https://fb.watch/m0iDNpOCTi/           Registered Awaiting Certificate    Aaron Jayjack
  (Shubstor margarita)
 Шубсторська Маргарита
                              When God is Angry         https://www.youtube.com/watch?v=‐cWxt_‐gDuo       NO             https://www.youtube.com/watch?v=PFSizOheU_k       Registered: PA 2‐369‐592       Brandon Clement
  (Shubstor margarita)

    Andrey Chundakov        When The Earth Is Angry     https://www.youtube.com/watch?v=‐989rUvzTb4       NO            https://www.youtube.com/watch?v=RyaaJ0XDaWA             Not Registered            Michael Steinberg

    Andrey Chundakov        When The Earth Is Angry    https://www.youtube.com/watch?v=‐N6W0V5zzwQ        NO             https://www.youtube.com/watch?v=fppIslxnqBw       Registered: PA 2‐407‐775       Brandon Clement

    Andrey Chundakov        When The Earth Is Angry     https://www.youtube.com/watch?v=hISiKEjdJ3w       NO             https://www.youtube.com/watch?v=TGke73qGkJ0       Registered: PA 2‐393‐277       Brandon Clement

    Andrey Chundakov        When The Earth Is Angry     https://www.youtube.com/watch?v=Me1_zX_Vljc       NO             https://www.youtube.com/watch?v=n15JJy1wkRY            Not Registered             Stephen Jones

    Andrey Chundakov        When The Earth Is Angry     https://www.youtube.com/watch?v=UbzA4csF4r0       NO             https://www.youtube.com/watch?v=U‐qBFdm0B_4            Not Registered             Aaron Rigsby

    Andrey Chundakov        When The Earth Is Angry    https://www.youtube.com/watch?v=hWBW5‐tGYAE        NO             https://www.youtube.com/watch?v=Sv56dEx5ktk           To Be Registered           Brandon Clement

    Andrey Chundakov        When The Earth Is Angry    https://www.youtube.com/watch?v=Fn‐CGpXn3oo        NO           https://www.youtube.com/watch?v=tl8WZTo1cKU&ab   Registered Awaiting Certificate   Brandon Clement

    Andrey Chundakov        When The Earth Is Angry    https://www.youtube.com/watch?v=G‐XLZDQ1EuQ        NO             https://www.youtube.com/watch?v=PFSizOheU_k       Registered: PA 2‐369‐592       Brandon Clement

    Andrey Chundakov        When The Earth Is Angry    https://www.youtube.com/watch?v=ofTQp4DFxuY        NO                     https://fb.watch/joeNS0CwuS/              Registered: PA 2‐360‐287         Reed Timmer

    Andrey Chundakov        When The Earth Is Angry     https://www.youtube.com/watch?v=aae5ZB8CyUI       NO            https://www.youtube.com/watch?v=pBuZkS2K5Coer           Not Registered             Brian Emfinger

    Andrey Chundakov        When The Earth Is Angry     https://www.youtube.com/watch?v=CJt0ZhOk1d0       NO                     https://fb.watch/m0iDNpOCTi/           Registered Awaiting Certificate    Aaron Jayjack

    Andrey Chundakov        When The Earth Is Angry    https://www.youtube.com/watch?v=WrykmFw7z00        NO                     https://fb.watch/m0iDNpOCTi/           Registered Awaiting Certificate    Aaron Jayjack

    Andrey Chundakov        When The Earth Is Angry     https://www.youtube.com/watch?v=5_Pr44l410U       NO           https://www.youtube.com/watch?v=DPkDgcAhhSg&ab   Registered Awaiting Certificate   Brandon Clement

    Andrey Chundakov        When The Earth Is Angry    https://www.youtube.com/watch?v=X7AEKN9uXak        NO           https://www.youtube.com/watch?v=ORmTeK9HDj8&ab   Registered Awaiting Certificate   Brandon Clement




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